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                            ATTACHMENT D
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   From:        PATTER HELLSTROM
   To:          Jenkins, Mack (USACAC); Palmer, Cassie (USACAC) 2; Har, Susan (USACAC); Faerstein, Brian (USACAC)
   Subject:     [EXTERNAL] Huizar case
   Date:        Tuesday, January 23, 2024 5:59:06 AM



   Dear Judge Walter:

   As a 7-year resident of downtown Los Angeles and s business owner. I am
   delighted to know that fallen City Council Member Jose Huizar will finally
   face justice.

   You are likely aware that the impact of his gross abuse of power lingers to
   this day.

   His actions have caused damage to our Bunker Hill neighborhood—a
   crucial business and cultural district for the entire city—that will take
   decades to reverse.

   Most notably, I refer to his “partnership” with LA Grand Hotel owner Wei
   Huang, who, even after his conviction, has been reaping tens of millions of
   dollars of taxpayer money.

   The cascading impact of that once-luxury hotel that has become a homeless
   shelter impacts all in the downtown community, particularly the S. Figueroa
   corridor, bringing drugs and violence to our community.

   The three corners surrounding the LA Grand (the World Trade Center, the
   business campus known as the Park DTLA, and rent-stabilized apartments
   at Skye at Bunker Hill) have vastly deteriorated.

   After billions of dollars were spent to construct the regional connector stop
   just a block away, this area should be thriving.

   All of this can be traced back to Jose Huizar’s scheming and conniving for
   his personal power, including and especially his shenanigans with Wei
   Huang.

   Recent stories of his religious pilgrimages and devotion to his elderly mother
   ring hollow. He must be held to account for his actions and his destruction of
   our community.
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   Thank you for considering these points as you preside over Huizar’s future.
   A message must be sent to all that such abuse is not permissible.

   Best,
   Patter Hellstrom, home owner
                       LA CA


   Patter Hellstrom Visual Art, business
   1340 east 6th street
   LA Art’s District

   Sent from Patter's iPhone
